Case 3:19-cv-00512-L-AGS Document 25 Filed 06/08/21 PageID.738 Page 1 of 4

                       UNITED STATES COURT OF APPEALS
                                                                       FILED
Jun 08 2021                   FOR THE NINTH CIRCUIT
                                                                       JUN 04 2021
  s/ AKR                                                              MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS




 APARNA VASHISHT-ROTA, an                         No. 20-55302
 individual,
                                                  D.C. No. 3:19-cv-00512-L-AGS
                  Plaintiff - Appellant,
                                                  U.S. District Court for Southern
   v.                                             California, San Diego

 HOWELL MANAGEMENT                                MANDATE
 SERVICES, LLC, a Utah limited
 liability company; et al.,

                  Defendants - Appellees.


           The judgment of this Court, entered February 24, 2021, takes effect this

date.

           This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

                                                  FOR THE COURT:

                                                  MOLLY C. DWYER
                                                  CLERK OF COURT

                                                  By: David J. Vignol
                                                  Deputy Clerk
                                                  Ninth Circuit Rule 27-7
Case 3:19-cv-00512-L-AGS Document 25 Filed 06/08/21 PageID.739 Page 2 of 4




                           NOT FOR PUBLICATION                           FILED
                    UNITED STATES COURT OF APPEALS                        FEB 24 2021
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
                           FOR THE NINTH CIRCUIT

APARNA VASHISHT-ROTA, an                        No. 20-55302
individual,
                                                D.C. No. 3:19-cv-00512-L-AGS
                Plaintiff-Appellant,

 v.                                             MEMORANDUM*

HOWELL MANAGEMENT SERVICES,
LLC, a Utah limited liability company; et
al.,

                Defendants-Appellees.

                   Appeal from the United States District Court
                     for the Southern District of California
                   M. James Lorenz, District Judge, Presiding

                          Submitted February 17, 2021**

Before:      FERNANDEZ, BYBEE, and BADE, Circuit Judges.

      Aparna Vashisht-Rota appeals pro se the district court’s judgment

dismissing her diversity action alleging employment claims under California law.

We have jurisdiction under 28 U.S.C. § 1291. We review de novo a dismissal


      *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
      **
             The panel unanimously concludes this case is suitable for decision
without oral argument. See Fed. R. App. P. 34(a)(2).
Case 3:19-cv-00512-L-AGS Document 25 Filed 06/08/21 PageID.740 Page 3 of 4




under Federal Rule of Civil Procedure 12(b)(6). Hebbe v. Pliler, 627 F.3d 338,

341 (9th Cir. 2010). We may affirm on any basis supported by the record.

Thompson v. Paul, 547 F.3d 1055, 1058-59 (9th Cir. 2008). We affirm.

      Dismissal of Vashisht-Rota’s claims in this action as compulsory

counterclaims was proper because the claims arose from the same transaction or

occurrence as the claims being litigated in a pending Utah state court case, No.

170100325, Howell Mgmt. Servs. LLC v. August Educ. Grp., et al. See Utah R.

Civ. P. 13(a); Pochiro v. Prudential Ins. Co. of America, 827 F.2d 1246, 1249 (9th

Cir. 1987) (“The question whether the [Plaintiff’s] claims are compulsory

counterclaims which should have been pleaded in the earlier. . . state court action is

a question of state law.”); Yanaki v. Iomed Inc., 116 P.3d 962, 963-65 (Utah Ct.

App. 2005) (under Utah R. Civ. P. 13(a)(1), employee’s discrimination claims

were compulsory counterclaims that should have been filed in employer’s earlier-

filed action, even if administrative remedies were not yet exhausted; the

employment relationship was the transaction or occurrence that was the subject

matter of the employer’s claims); see also Beck v. Fort James Corp. (In re Crown

Vantage, Inc.), 421 F.3d 963, 973 n.7 (9th Cir. 2005) (“Federal courts will not

permit an action to be maintained where the claims asserted should have been

brought as a compulsory counterclaim in an earlier action.”).

      We do not consider arguments or allegations raised for the first time on


                                          2                                    20-55302
Case 3:19-cv-00512-L-AGS Document 25 Filed 06/08/21 PageID.741 Page 4 of 4




appeal, or documents and facts not presented to the district court. See Padgett v.

Wright, 587 F.3d 983, 985 n.2 (9th Cir. 2009); United States v. Elias, 921 F.2d

870, 874 (9th Cir. 1990).

      Appellees’ motion to strike Vashisht-Rota’s second supplemental brief

(Docket Entry No. 49) is granted. The Clerk will strike Docket Entry No. 42. All

other pending motions and requests are denied.

      AFFIRMED.




                                         3                                    20-55302
